Case 1:19-cr-10040-JTF Document 126 Filed 10/01/19 Page 1 of 4                         PageID 2357




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,
     Plaintiff,


Vs.                                                             Cr. No.: 1:19-cr-10040-JDB


JEFFREY W. YOUNG, Jr.,
     Defendant.


                MOTION AND MEMORANDUM FOR A CHANGE IN VENUE


          COMES NOW the Defendant, Jeffrey W. Young, Jr., by and through his attorney of

record, Claiborne H. Ferguson, and moves this Court for a change in venue. For cause, counsel

would state as follows:

          A criminal defendant has a due process right to a fair trial by an impartial jury free from

outside influences. See United States v. Bennett, 2013 U.S. Dist. LEXIS 121562 2013 (citing

Skilling v. United States, 561 U.S. 358 (2010); Sheppard v. Maxwell, 384 U.S. 333, 349-62

(1966) (due process violation based on press coverage); Estes v. Texas, 381 U.S. 532, 538-52

(1965).

          This right is codified in Rule 21(a) of the Federal Rules of Criminal Procedure, which

states: “Upon the defendant's motion, the court must transfer the proceeding against that

defendant to another district if the court is satisfied that so great a prejudice against the defendant

exists in the transferring district that the defendant cannot obtain a fair and impartial trial there.”

In March 2010, the Supreme Court handed down its decision in Skilling v. United States, supra,

the seminal case concerning the appropriateness of a venue transfer. The case involved Jeffrey
Case 1:19-cr-10040-JTF Document 126 Filed 10/01/19 Page 2 of 4                      PageID 2358




Skilling—the infamous Chief Executive Officer of the Enron Corporation—and his trial for crimes

committed before Enron's collapse into bankruptcy. In assessing the "presumption of prejudice"

principle which necessitated a transfer of venue, the Court addressed four factors: (1) the size and

characteristics of the community in which the crime occurred (and accordingly, from which the

jury was selected); (2) whether there was dissemination of prejudicial information that "readers or

viewers could not reasonably be expected to shut from sight"; (3) the lapse of time between the

conduct and the trial itself; and (4) "of prime significance," the actual jury verdict. Id. at 2915-

16. Because Young's trial has yet to occur, only the first three considerations are relevant here.

       Applying the Skilling factors to this case indicate that there is a presumption of prejudice

that Mr. Young will not receive a fair trial. The first factor favors moving the trial. The City of

Jackson is small in comparison to most cases that address this issue.     The current population is

around 67,000 persons, a far cry from the 4.5 million residents in Houston in the Skilling case and

the 866,000 residents of the Eastern district of Michigan in the Bennett case. In fact, counsel is

only requesting the case to be transferred to the Western Section of the Westen District as this case

has not generated the same publicity in Memphis/Shelby County as it has in the Eastern Section

of the Western district, especially the Jackson area.

       There has been a tremendous amount of pre-trial publicity, on-line chatter, and press

releases from the United States Attorney’s Office. Attached are just a small sample of prejudicial

information that this case has generated in the local area. Of special concern is the recent Jackson

Sun article that nearly slandered Mr. Young and was a near verbatim recitation of the inadmissible

allegations of past bad acts that would not be admissible at trial but know there in no way to recall

this information from the community at large. See, Exhibit A. Furthermore, the story (along with

others) has been on local TV numerous times and multiple news outlets are following the story.
Case 1:19-cr-10040-JTF Document 126 Filed 10/01/19 Page 3 of 4                        PageID 2359




See, Exhibit B. There is a huge collection of articles on-line relating to this case. See, Exhibit C.

In fact, the United States Attorney for the district had posted about the case on his personal and

business Facebook accounts, as well as the official Twitter account. See, Exhibit D. This prong

favors moving this case.

       The third prong also favors moving the case to Memphis. The length of time verses the

scandalous details of the press coverage is such that this case is currently being routinely discussed,

debated and fought within the Jackson community. The scandalous nature of the allegations ensure

that it will continue to be discussed and that prejudice will not recede as the trial approaches. In

fact, just the opposite is likely due to the on-line nature of much of the information being

disseminated within the community.

       WHEREFORE premise considered, Counsel requests that venue be transferred to the

Western Section of the Western District.



                                     Certificate of Consultation

       On September 30th, 2019, 4 p.m. CST, I emailed Andrew Pennbraker at

Andrew.Pennebaker@usdoj.gov and Jason Knutson at Jason.Knutson@usdoj.gov and asked for their

position on this motion. As of the filing of this Motion, I have received no objection from them.
Case 1:19-cr-10040-JTF Document 126 Filed 10/01/19 Page 4 of 4                       PageID 2360




                                                      Respectfully Submitted;




                                                                   The
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                                                      /s/ Claiborne H. Ferguson
                                                      CLAIBORNE H. FERGUSON (20457)
                                                      Attorney for Defendant




                                  CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify that a true and exact copy of the foregoing document
has been served upon all concerned parties, via the Court’s electronic filing system, this the 1st day
of October 2019.



                                                      s/Claiborne H. Ferguson
                                                      CLAIBORNE H. FERGUSON
